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         EXHIBIT AQ
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                                            March 13, 2025

Dr. Katrina Armstrong
Interim President
Columbia University
Office of the President
202 Low Library
535 W. 116 St., MC 4309
New York, NY 10027

David Greenwald
Claire Shipman
Co -Chairs
Columbia Board of Trustees
202 Low Library
535 W. 116 St. MC 4309
New York, NY 10027

Dear Dr. Armstrong:

Please consider this a formal response to the current situation on the campus of Columbia
University and a follow up to our letter of March 7, 2025, informing you that the United States
Government would be pausing or terminating federal funding. Since that date your counsel has
asked to discuss " next steps."

U.S. taxpayers invest enormously in U.S. colleges and universities, including Columbia University,
and it is the responsibility of the federal government to ensure that all recipients are responsible
stewards offederal funds. Columbia University, however, has fundamentally failed to protect
American students and faculty from antisemitic violence and harassment in addition to other alleged
violations of Title VI and Title VII ofthe Civil Rights Act of 1964. Pursuant to your request, this
letter outlines immediate next steps that we regard as a precondition for formal negotiations
regarding Columbia University's continued financial relationship with the United States
government. Please ensure and document compliance with the following no later than the close of
business on Wednesday, March 20, 2025:
          Enforce existing disciplinary policies. The University must complete disciplinary
          proceedings for Hamilton Hall and encampments. Meaningful discipline means expulsion
          or multi-year suspension.
       • Primacy ofthe president in disciplinary matters. Abolish the University Judicial Board
          (UJB) and centralize all disciplinary processes under the Office of the President. And
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      empower the Office ofthe President to suspend or expel students with an appeal process
      through the Office ofthe President.
      Time, place, and manner rules . Implement permanent, comprehensive time, place, and
      manner rules to prevent disruption ofteaching, research, and campus life.
      Mask ban. Ban masks that are intended to conceal identity or intimidate others, with
      exceptions for religious and health reasons . Any masked individual must weartheir
      Columbia ID on the outside oftheir clothing (this is already the policy at Columbia's Irving
      Medical Center) .
      Deliver plan to hold all student groups accountable. Recognized student groups and
      individuals operating as constituent members of, or providing support for, unrecognized
      groups engaged in violations of University policy must be held accountable through formal
      investigations, disciplinary proceedings, and expulsion as appropriate.
    ? Formalize, adopt, and promulgate a definition of antisemitism. President Trump's
      Executive Order 13899 uses the IHRA definition. Anti-“Zionist” discrimination against
        Jews in areas unrelated to Israel or Middle East must be addressed.
    • Empower internal law enforcement. The University must ensure that Columbia security
      has full law enforcement authority, including arrest and removal of agitators who foster an
      unsafe or hostile work or study environment, or otherwise interfere with classroom
      instruction or the functioning ofthe university.
      MESAAS Department – Academic Receivership. Begin the process of placing the
      Middle East, South Asian, and African Studies department under academic receivership for
      a minimum of five years. The University must provide a full plan, with date certain
      deliverables, by the March 20, 2025, deadline.
        Deliver a plan for comprehensive admissions reform. The plan must include a strategy to
        reform undergraduate admissions, international recruiting, and graduate admissions
        practices to conform with federal law and policy.
Weexpect your immediate compliance with these critical next steps, after which we hope to open a
conversation about immediate and long-term structural reforms that will return Columbia to its
original mission of innovative research and academic excellence.


Sincerely,




Josh Gruenbaum                                            Sean R. Keveney
Comm'r ofthe Fed. Acquisition Serv.                       Acting General Counsel
General Services Administration                           U.S. Dep't Health & Human Servs.




Thomas E. Wheeler
Acting General Counsel
U.S. Dept. of Education
